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8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                      EASTERN DISTRICT OF CALIFORNIA
10
                                    )   No. 2:10-CR-255 GEB
11   UNITED STATES OF AMERICA,      )
                                    )   STIPULATION AND ORDER CONTINUING
12             Plaintiff,           )   HEARING ON DEFENDANT KIEDOCK
                                    )   KIM’S MOTION TO DISMISS CERTAIN
13        v.                        )   COUNTS OF THE INDICTMENT,
                                    )   AMENDING THE BRIEFING SCHEDULE,
14   FRENCH GULCH NEVADA MINING     )   AND EXCLUDING TIME UNDER THE
     CORPORATION, et al.,           )   SPEEDY TRIAL ACT
15                                  )
               Defendants.          )
16                                  )
                                    )
17
18        Whereas, the undersigned prosecutor for plaintiff United
19   States of America has been heavily involved in a preparation for
20   a complex three-defendant, multi-week trial in Fresno,
21   California, in the case United States v. Joseph M. Cuellar, et
22   al., Case No. 1:10-CR-285 LJO, that was scheduled to start trial
23   on March 19, 2013, but was settled on March 11, 2013; and
24        Whereas, the prosecutor’s work on the Cuellar case prevented
25   him from working on a proposed plea agreement in the instant case
26   that might lead to the pretrial resolution of this case without
27   the necessity of the Court considering and resolving defendant
28   Kiedock Kim’s motion to dismiss certain counts of the Indictment,

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1         It is hereby stipulated by and between plaintiff United
2    States of America, on the one hand, and Kim, on the other hand,
3    through their respective undersigned counsel that:            (1) the
4    presently set April 5, 2013, hearing on Kim’s motion to dismiss
5    certain counts of the Indictment shall be continued to June 7,
6    2013, at 9:00 a.m.; (2) the United States’ response to Kim’s
7    motion shall be filed by May 10, 2013; and (3) Kim’s reply, if
8    any, shall be filed by May 24, 2013.          This continuance is
9    requested to provide the parties time to attempt to negotiate a
10   pretrial resolution of the case and, in the event the case is not
11   resolved, provide the United States additional time to respond to
12   Kim’s dismissal motion.       The parties have made offers and
13   counteroffers to resolve the case and, while the parties are
14   moving closer to resolution of the case, additional time is need
15   to more fully explore a settlement resolution as there are
16   sentencing guidelines issues that remain unresolved.            The parties
17   further stipulate and agree that computation of time within which
18   the trial of this matter must be commenced shall continue to be
19   excluded under 18 U.S.C. § 3161(h)(1)(D) and Local Code E due to
20   Kim’s pending motion to dismiss.
21   DATED:    March 15, 2013            /s/ Malcolm S. Segal
                                         ______________________________
22                                       MALCOLM S. SEGAL
                                         Attorney for Defendant
23                                       Kiedock Kim
24
     Dated:    March 15, 2013            BENJAMIN B. WAGNER
25                                       UNITED STATES ATTORNEY
26                                       /s/ Samuel Wong
27                                 By:   SAMUEL WONG
                                         Assistant U.S. Attorney
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1                                        ORDER
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3         The Court having received, read, and considered the
4    stipulation of the parties, and good cause appearing therefrom,
5    adopts the stipulation of the parties in its entirety as its
6    order.    It is ordered that:      (1) the presently set April 5, 2013,
7    hearing on Kim’s motion to dismiss certain counts of the
8    Indictment shall be continued to June 7, 2013, at 9:00 a.m.; (2)
9    the United States’ response to Kim’s motion shall be filed by May
10   10, 2013; and (3) Kim’s reply, if any, shall be filed by May 24,
11   2013.
12        It is further ordered that computation of time within which
13   the trial of this matter must be commenced shall continue to be
14   excluded under 18 U.S.C. § 3161(h)(1)(D) and Local Code E due to
15   Kim’s pending motion to dismiss through the conclusion of the
16   hearing on, or other prompt disposition of, such motion.
17   Dated:    March 19, 2013
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19                                    GARLAND E. BURRELL, JR.
20                                    Senior United States District Judge

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